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    1   Seth M. Lehrman (178303)
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    2   EDWARDS POTTINGER LLC
        425 North Andrews Avenue, Suite 2
    3   Fort Lauderdale, FL 33301
        Telephone: 954-524-2820
    4   Facsimile: 954-524-2822
    5   Attorneys for Plaintiff
        Betty Moore through her
    6   attorney in fact Alisha Gore
    7
    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
  10                                   EASTERN DIVISION
  11    BETTY MOORE through her attorney
                                      )            Case No. 5:21-cv-01192-JGB-SHK
        in fact ALISHA GORE, individually
                                      )
  12    and on behalf of all others similarly
                                      )
        situated,                     )               PLAINTIFF’S NOTICE OF
  13                                  )               WITHDRAWAL PLAINTIFF’S
                          Plaintiff,  )               NOTICE AND MOTION FOR
  14                                  )               ORDER PERMITTING SERVICE
            v.                                        OF DEFENDANT, LEGION AUTO
  15                                  )               PROTECTION SERVICES, BY
        LEGION AUTO PROTECTION        )               PUBLICATION (Dkt. No. 21)
  16    SERVICES, WALCO FUNDING, LLC )
        AND CARGUARD                  )            Hearing Date: December 12, 2021
  17    ADMINISTRATION, INC.,         )            Time: 9:00 a.m.
                                      )            Place: Courtroom 1
  18                      Defendants. )            Judge: Jesus G. Bernal
                                      )
  19                                  )               Complaint filed: July 16, 2021
                                      )               Service Deadline: November 15, 2021
  20                                  )
  21                                  )
                                      )
  22                                  )
  23
        TO ALL PARTIES AND ATTORNEYS OF RECORD:
  24          PLEASE TAKE NOTICE that Plaintiff BETTY MOORE through her
  25    attorney in fact ALISHA GORE, by and through the undersigned counsel, hereby
  26    withdraws her Notice and Motion for an order permitting service of Defendant
  27
                                                -1-
  28             PLAINTIFF’S NOTICE OF WITHDRAWAL PLAINTIFF’S NOTICE AND MOTION FOR ORDER
         PERMITTING SERVICE OF DEFENDANT, LEGION AUTO PROTECTION SERVICES, BY PUBLICATION
                                                               CASE NO. 5:21-cv-01192-JGB-SHK
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    1   Legion Auto Protection Services (“Legion”), by publication, (Dkt. No. 21) and states
    2   as follows:
    3         Hearing is set for December 12, 2021, at 9:00 a.m., before the Honorable
    4   Jesus Bernal, in Courtroom 1, of the United States Courthouse for the Central
    5   District of California, Eastern Division, George E. Brown, Jr. Federal Building and
    6   United States Courthouse, 3470 Twelfth Street, Riverside, CA 9250.
    7         Plaintiff’s counsel filed Defendant’s Legion Waiver of Service of Summons
    8   (Dkt. No. 22). Legion’s answer to Complaint is due on January 15, 2022.
    9
                                                    EDWARDS POTTINGER LLC
  10
        DATED: November 22, 2021                By: /s/ Seth M. Lehrman
  11                                                 Seth M. Lehrman
                                                     Attorneys for Plaintiff Betty Moore
  12                                               through her attorney in fact Alisha Gore
  13
  14                              CERTIFICATE OF SERVICE
  15          I hereby certify that on November 22, 2021, I filed a copy of the foregoing
  16    with the Clerk of Court using the Court’s CM/ECF system, which will send
  17    electronic notice of the same to all counsel of record.
  18                                       By: /s/ Seth M. Lehrman
  19                                               Seth M. Lehrman
                                           Attorney for Plaintiff
  20                                       Betty Moore through her
                                           attorney in fact Alisha Gore.
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  22
  23
  24
  25
  26
  27
                                                 -2-
  28             PLAINTIFF’S NOTICE OF WITHDRAWAL PLAINTIFF’S NOTICE AND MOTION FOR ORDER
         PERMITTING SERVICE OF DEFENDANT, LEGION AUTO PROTECTION SERVICES, BY PUBLICATION
                                                               CASE NO. 5:21-cv-01192-JGB-SHK
